      Case 1:25-cv-00381-ABJ               Document 22-3               Filed 02/21/25   Page 1 of 1


From:          Martinez, Adam (CFPB)
To:            _DL_CFPB_AllHands
Subject:       Please Read: DC Headquarters Building Operating Status (2/10-2/14)
Date:          Sunday, February 9, 2025 1:39:00 PM


(This message is for DC Headquarters Staff and Contractors)

Dear Colleagues:

The DC Headquarters Building will be closed this week (2/10-2/14). Employees and
contractors are to work remotely unless instructed otherwise from our Acting Director
or his designee.

Thank you.

Adam

Adam Martinez
Chief Operating Officer
